 8:17-cr-00242-RFR-MDN               Doc # 29    Filed: 08/15/17       Page 1 of 1 - Page ID # 47



                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiffs,                                        8:17CR242

       vs.
                                                                           ORDER
SAMUEL STARKEY,

                       Defendant.


       This matter is before the court on defendant's UNOPPOSED MOTION TO ENLARGE
TIME FOR CONSIDERATION OF PRETRIAL MOTIONS [27]. For good cause shown, I find that
the motion should be granted. The defendant will be given an approximate 39-day extension.
Pretrial Motions shall be filed by September 22, 2017.


       IT IS ORDERED:
       1.      Defendant's      UNOPPOSED         MOTION         TO     ENLARGE           TIME     FOR
CONSIDERATION OF PRETRIAL MOTIONS [27] is granted. Pretrial motions shall be filed on
or before September 22, 2017.
       2.      The ends of justice have been served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. The additional time arising as a result of
the granting of the motion, i.e., the time between August 14, 2017 and September 22, 2017, shall be
deemed excludable time in any computation of time under the requirement of the Speedy Trial Act
for the reason defendant's counsel required additional time to adequately prepare the case, taking into
consideration due diligence of counsel, and the novelty and complexity of this case. The failure to
grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).


       Dated this 15th day of August, 2017.

                                                         BY THE COURT:

                                                         s/ Michael D. Nelson
                                                         United States Magistrate Judge
